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District Court, Denver County, State of

 

 

Colorado

Court, Address; DATE FILED: April 25, 2014 1: 36 PM
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1437 Bannock Street, Roorn 256 Denver, CO 80202 CASE NUMBER: 2014€`/3169;

Phone: 720-865-7800

Plaintiff:

REGINA GARCIA as Parent and Next Friend to
T.D., a minor.

A COURT USE ONLY A
v.

 

Defendants:

KELCEY PATTON and THE DENVER
DEPARTMENT OF HUMAN SERVICES.
Plaintiffs’ Attorneys: DiV¢
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Case No:

 

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COMPLA.INT AND JURY DEMAND

 

 

 

Plaintiff Regina Garcia as Parent and Next Friend to T.D., a minor, for her
Complaint against Kelcey Patton and the Denver Departrnent of Human Services
alleges and states:

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INTRODUCTION

1. Defendants removed T.D. from his mother’s home, assumed custody of
him and responsibility for his care at a time when he had extraordinary emotional
and psychological needs, and then knowingly placed him for a year in the home of
his biological father, a registered sex offender who had been convicted of raping his
minor daughter, T.D.’s sister. Defendants made this decision knowing that
placement with a convicted child rapist posed a risk of harm to T.D. Over the
ensuing year, though T.D. remained a ward of Denver County, Defendant Patton
failed to appropriately monitor the placement and ignored signs that T.D. was being
sexually abused by his father. Indeed, throughout the course of the year, T.D. was
repeatedly forced to perform fellatio on his father and was forced to perform sex acts
on a younger child in front of his father and for his father’s sexual gratification, for
which his father has subsequently been convicted and imprisoned Moreover,
Defendant Patton observed and noted that T.D. was being subjected to ongoing
physical abuse by his father, but nevertheless recommended that T.D. remain
placed in his father’s home. It is only when Jefferson County, in which the father’s
horne was located, launched an independent investigation that uncovered the
ongoing child sexual abuse and removed the other minor children from the home,
that Defendants belatedly removed T.D. Defendants’ actions violated T.D.’s
constitutional rights, for which he now seeks redress.

PARTIES, JURISDICTION, AND V`ENUE

2. Plainti.ff Regina Garcia is mother of T.D., a minor, has parental rights
over T.D., and, along with T.D., is a resident of the State of Colorado.

3. Defendant Kelcey Patton, at all times relevant to this Complaint, was

a caseworker employed by the Denver Department of Human Services, and is a
resident of the State of Colorado.

4. The Denver Department of Human Services (“the Department”) is a
political subdivision of the State of Colorado.

5. This Court has concurrent jurisdiction with federal courts to adjudicate
claims arising under 42 U.S.C. § 1983.

6. Venue is appropriate pursuant to C.R.C.P. 98(c).
GENE RAL ALLEGATIONS
7. On April 9, 2010, the Department filed a petition in dependency and

neglect, verified by Patton, alleging, among other things, that T.D. has been truant
from school.

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8. The Department further alleged that T.D.’s father (“Father”) “has had

a sexual offense against a minor . . . . The victim was [P.G.], Ms. Garcia’s oldest
daughter.”
9. Prior to filing the petition, the Department noted in its internal

records that Father was a “registered sex offender.” Another internal record notes
that “[o]ther children in the home . . . have been abused by FOC [Father of Chi]d].
FOC -is registered sex offender and doesn’t have contact wlkids.”

10. At the time the Department filed the petition, T.D. resided in his
mother’s home.

11. On April 4, 2010, the Denver District Court sustained the petition and
entered judgment in favor of the Department and against Father and Ms. Garcia.
The court adjudged T.D. and his sister, M.D., dependent and neglected.

12, Pursuant to the court’s April 4, 2010 order, legal custody of T.D. was
placed with the Department.

13. The court ordered that T.D. be placed in a Therapeutic Residential
Child Care Facility.

14. Placement in a Therapeutic Residential Child Care Facility was
necessary and appropriate for T.D. given his extraordinary therapeutic needs.

15. In May 2010, shortly after the Department obtained custody of T.D.,
Patton reported to the court “that three prior sexual abuse investigations within the
Garcia family had taken place,” that “[t]he family has a history of sexual abuse
within the family. The family has also had multiple child protection referral
inquiries It is evident that [T.D.] is in need of mental health treatment and is
beyond the control of Ms. Garcia.”

16. Patton further reported in May 2010 that “[P.G.] was sexually abused
by her stepfather [Father]. [Father] was incarcerated for 2 years for sexual assault
on a child. Ms. Garcia reports that she took out a restraining order to keep [Father]
away from her family.”

17. Patton also reported in May 2010 that “[T.D.] has issues with anger
and enuresis.” Enuresis, coupled with anger and the suicidal ideation that he had
recently expressed, are signs that a child has been a victim of child sexual abuse.

18. The court subsequently ordered, on May 12, 2010, that Father was not
to have visits with M.D. until recommended by M.D.’s therapist and by Father’s

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parole officer. Presumably, this limitation was due to Father’s history of
committing child sexual abuse.

19. Despite her knowledge that Father presented a significant risk of
immediate harm to T.D., Patton recommended in September 2010 that T.D. be
placed in Father’s home.

20. Prior to recommending that T.D. be placed in Father’s home, Patton
failed to require that an appropriate risk assessment be performed and evaluated.

21. Moreover, given T.D.’s extraordinary emotional and psychological
needs, he required placement in a Therapeutic Residential Child Care Facility.
Transitioning him to placement in Father’s house deprived T.D. of therapeutic care
that he desperately needed, and ensured that his psychological health would be
damaged even without ensuing re-traumatization.

22. Based on Patton’s recommendation, T.D. was placed in Father’s home
in October 2010.

23. As T.D.’s assigned caseworker, Patton was required to monitor
diligently T.D.’s placement in Father’s home, including through face-to-face
meetings with T.D. on at least a monthly basis and home visits at least every other
month.

24. Patton failed to monitor diligently T.D.’s placement in Father’s home.

25. Had she met regularly with T.D. and conducted regular visits to
Father’s home, Patton Would have seen signs that T.D. was being subjected to
ongoing sexual abuse by Father, including forcible oral penetration and being
compelled to perform sex acts on his younger sibling. Patton would also have
observed evidence that Father was subjecting T.D. to ongoing physical abuse.
Patton would have, or should have, removed T.D. from Father’s home upon
observing signs of T.D.’s abuse.

26. Instead, Patton appears to have based her assessment of T.D.’s well-
being primarily on Father’s reporting. In her March 2011 report to the court,
Patton states that Father “reports that [T.D.] is growing into a happy and health[y]
teenager; that enjoys talking on the phone and occasionally entertaining his
younger siblings. Overall it appears that [T.D.] continues to flourish in [Father’s]
home.”

27 . Therefore, Patton recommended that T.D. remain in Father’s home.

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28. Patton began receiving reports from third parties of Father’s
mistreatment of T.D.

29. In her June 2011 report, Patton notes that “[T.D.] visits Ms. Garcia on
the weekends. Ms. Garcia informed this worker . . . that [T.D.] often smells bad and
his clothing is unclean when he arrives at her home. Ms. Garcia expressed her
concern for [T.D.] and questions if all of [T.D.’s] needs are being met. Recently, this
worker was contacted by the school social worker at [T.D.’s] school. The school
social worker informed this worker [Patton] that the school staff had some concerns
regarding [T.D.’s] behavior and educational achievements. The school social worker
detailed that in the last few months of school [T.D.] spent a large amount of time at
the nurse’s office complaining that he was sick or had body aches . . . . [T]he school
staff reports that [T.D.] appears to be fearful of [Father] and at times does not want
to go home.”

30. These reports-foul odor, unclean clothing, complaints of sickness and
body aches, expressed fear of Father, and refusal to go back to Father’s home-were
obvious red flags that T.D. was being subjected to ongoing abuse and neglect by
Father. These reports were made by credible third parties, including the school
social worker and school staff.

31. Moreover, T.D. himself reported being the victim of ongoing physical
abuse by Father. As Patton reported in June 2011, “[T.D.] detailed that [Father]
had hit [T.D.] with a wooden handle of a mop across his back. [T.D.] reports that
the incident occurred because he had not completed his kitchen chore. [T.D.] claims
that the following day, [Father] came home with a leather belt and told [T.D.] that if
her [sic] did not behave [Father] would use the belt to punish [T.D.]”

32. Patton should have taken steps to terminate T.D.’s placement with
Father. Instead, Patton recommended that T.D. remain in Father’s home.

33. The court ordered the Department on June 28, 2011 “to line up a

professional to go to [Father’s] home and assess his parenting skills with his other
children.”

34. Patton failed to do so. Had she done so, the professional would have
discovered that T.D. was being subjected to ongoing abuse.

35. The evidence that Patton already had of T.D.’s abuse by Father should
have caused Patton to personally investigate Father’s home and his treatment of
T.D. However, as Patton reported in August 2011, Father’s “communication with
this worker has subsided. This worker went a period of time not being able to
contact [Father] and this worker was unable to complete a face to face contact with
[T.D.] for the month of July.” Patton requested that Father sign a release so that

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his sex offense therapist could speak with M.D.’s therapist about whether visits
with Father would be safe for M.D. However, Father refused to sign the release.

36. That Father refused contact with Patton, and kept T.D. from seeing
Patton, after Patton had received reports that T.D. was displaying signs of abuse
and neglect, coupled with Father’s refusal to allow his sex offense therapist to
report on his progress, constituted an ominous sign that T.D. was being sexually
and physically abused.

37. Patton should have taken steps to terminate T.D.’s placement With
Father. Instead, Patton recommended yet again that T.D. remain in Father’s home.

38. In her November 2011 report, Patton states: “Since the last court
hearing, this worker has had minimal contact with [Father]. Recently, this worker
learned that [Father’s] youngest children were removed from his care by Jefferson
County social services.” Given that Jefferson County had removed Father’s other
children from the home, that Father "admits to this worker [Patton] that he uses
crack cocaine,” and that “[r]ecently, it was reported that [Father] has moved out of
the state of Colorado,” Patton finally concluded “that it was warranted to remove
[T.D.] from [Father’s] care as well.”

39. As Patton reported in November 2011, “[T.D.] was placed at the family
Crisis Center (FCC) on an emergency basis. While, being placed at the FCC [T.D.]
has run from placement more than once . . . . This worker learned that [T.D.]
obtained a municipal ticket for shop lifting when he was in the care of [Father].
[T.D.] is currently not in compliance with the municipal court orders and is at risk
of further sanctions More importantly, during the investigation by Jefferson
County, this worker was informed, that there may have [been] some inappropriate
contact between [T.D.] and his younger siblings.”

40. It was only after terminating the placement with Father that Patton
learned that T.D. had been cited months earlier for shoplifting. It was only through
the Jefferson County investigation that Patton discovered that T.D. had been
involved in inappropriate sexual contact with his younger sibling. Had Patton
performed her duties appropriately, she would have learned these facts months
earlier and would have, or should have, intervened to ensure that T.D. received the
help he needed,

41. As a result of the Jefferson County investigation, it was discovered
that T.D. and a younger sibling had been engaged in sexual contact with each other
at Father’s direction. Father was criminally charged for this conduct and has pled
guilty. T.D. was charged with a juvenile offense of Sexual Assault on a Child -
Pattern of Abuse, and the court has ordered deferred adjudication and sentence.

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42. T.D. has suffered severe physical, emotional, and psychological harm
as a result of his placement in Father’s home. He will have significant ongoing
therapeutic and medical needs for the remainder of his life. The lifelong effects of
the harm that he has suffered will diminish considerably his earning potential.

FIRST CAUSE OF ACTION
(42 U.S.C. § 1983)

43. Plaintiff incorporates all prior paragraphs as if fully restated herein.

44. Patton is a state actor who at all times relevant to the allegations of
this Complaint was acting under color of state law.

45. Patton violated T.D.’s clearly established rights under the Due Process
Clause of the United States Constitution.

46. Patton had a special relationship with T.D. pursuant to which she was
obligated to protect him from violent acts inflicted by others.

47 . Patton is liable for Father’s harm of T.D. because Patton created the
danger that caused the harm.

48. Patton’s conduct shocks the conscience.

49. The law was sufficiently clear that a reasonable official in Patton’s
position would have understood that her conduct violated T.D.’s constitutional
rights.

50. In Yuonne L. v. New Mexico Dep’t of Human Services, 959 F.2d 883
(10th Cir. 1992), the Tenth Circuit held that children in the state’s legal custody
have a clearly established “constitutional right to be reasonably safe from harm;
and that if the persons responsible place children in a foster home or institution
that they know or suspect to be dangerous to the children they incur liability if the
harm occurs.” Id. at 893.

51. The court held in Yvonne L. that “[i]f defendants knew of the asserted
danger to plaintiff[] or failed to exercise professional judgment thereto, . . . and if
an affirmative link to the injuries plaintiff[] suffered can be shown, then . . .
defendants violated plaintiff[’s] constitutional rights.” Id. at 890.

52. T.D. was in the state’s legal custody.

53. Patton was responsible for T.D. while he was in the state’s legal
custody.

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54. T.D. had a constitutional right to be reasonably safe from harm.

55. Patton placed T.D. in Father’s home, which she knew or suspected to
be dangerous

56. T.D. was harmed in Father’s home.

57 . Patton knew of the asserted danger to T.D. posed by placement in
Father’s home or failed to exercise professional judgment thereto.

58. There is an affirmative link between T.D.’s injuries and Patton’s
knowledge of, or failure to exercise professional judgment with respect to, the
dangers posed by placement in Father’s home.

59. In Currier v. Doran, 242 F. 3d 905, 923 (10th Cir. 2001), the Tenth
Circuit held that even without a special relationship, “a state could be liable when it

affirmatively acts to create, or increases a plaintiffs vulnerability to, danger from
private violence.”

60. Here, the Department and Patton created the danger or increased
T.D.’s vulnerability to the danger.

61. T.D. was a member of a limited and specifically definable group.

62. Pattons’ conduct put T.D. at substantial risk of serious, immediate,
and proximate harm.

63. The risk was obvious or known.
64. Patton acted recklessly in conscious disregard of that risk.
65. Such conduct, when viewed in total, is conscience shocking

66. Patton was aware of a known or obvious risk that was so great that it
was highly probable that serious harm would follow.

67 . Patton’s actions constitute a conscious and unreasonable disregard of
the consequences

68. If Patton had investigated T.D.’s case with sufficient acuity and
diligence to discover the abuse, she would have been able to prevent further abuse
by withdrawing T.D. from Father’s home.

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69. Either through Patton’s failure to investigate and report to the court or
her affirmative recommendations to the court, Patton was responsible for the harm
that Father caused T.D.

70. On information and belief, at all times relevant to this Complaint
Patton acted pursuant to policy and custom of the Department.

71. Defendants’ conduct caused Plaintiff to suffer damages

WHEREFORE, Plaintiff respectfully requests that this Court enter judgment
in Plaintiff’s favor and against each Defendant, and award Plaintiff all relief
allowed by law, including but not limited to the following: (1) economic and non-
economic losses on all claims allowed by law; (2) compensatory and consequential
damages; (3) attorney’s fees and costs; (4) pre-judgment and post-judgment interest;
and (5) any further relief that this Court deems just and proper.

Plaintiff requests trial by jury.
Dated: April 25, 2014
Respectfully submitted,
ALLEN & VELLoNE, P.C.
/s/ Jordan Factor
Jordan Factor # 38126
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-and-

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